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              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1488V
                                      (not to be published)

    ************************* *
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    R.S., and C.S., parents and natural guardian *
    of J.S., a minor,                            *
                                                 *         Special Master Katherine E. Oler
                                                 *
                           Petitioners,          *
                                                 *
    v.                                           *         Filed: April 26, 2021
                                                 *
    SECRETARY OF HEALTH AND                      *
    HUMAN SERVICES,                              *         Petitioners’ Motion for a Decision;
                                                 *
                                                 *         Dismissal of Petition; Vaccine Act.
                           Respondent.           *
                                                 *
    ************************* *

Robert Krakow, Law Office of Robert J. Krakow, New York, NY, for Petitioners
Ryan Pyles, U.S. Department of Justice, Washington, DC, for Respondent

                               DECISION DISMISSING PETITION1

      I.     Procedural History

        On September 24, 2018, R.S. and C.S. (“Petitioners”) filed a petition for compensation
under the National Vaccine Injury Compensation Program,2 alleging that their son, J.S. suffered
an adverse reaction to the MMRV and Kinrix vaccines he received on September 30, 2015. Pet. at
1, ECF No. 1. Petitioners filed statements of completion on November 18, 2018, June 5, 2019, and
July 9, 2019. ECF Nos. 10, 21, 25.


1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
  The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine
Act” or “the Act”). Individual section references hereafter will be to § 300aa of the Act (but will omit that
statutory prefix).
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       On April 16, 2019, Respondent filed a Rule 4(c) Report stating that this case is not
appropriate for compensation pursuant to the Vaccine Act. Resp’t’s Rep. at 1-2, ECF No. 15.
More specifically, Respondent stated that

          Petitioners do not allege, nor does the record support, an injury covered by the
          Vaccine Injury Table. See 42 C.F.R. § 100.3. Accordingly, petitioners must
          demonstrate with reliable medical evidence that a non-Table injury was caused-in-
          fact by a vaccine listed on the Table (actual causation or causation-in-fact).
          Petitioners have not provided sufficiently reliable evidence of causation that
          satisfies the elements of Althen, as described above, which are required to establish
          a prima facie case that the vaccines that JS received can cause or significantly
          aggravate JS’s condition in this case.

Id. at 5.

        During a status conference on April 19, 2019, Petitioners requested 90 days to file expert
reports. See Scheduling Order on 4/19/2019, ECF No. 16. Petitioners requested numerous
extensions of time, but ultimately did not file an expert report. See ECF Nos. 26-32, 34-36, 39.

        Petitioners filed the instant motion to dismiss their claim on April 23, 2021, stating
“petitioners’ review of the case decisions of the Office of Special Masters, the United States Court
of Federal Claims and the United States Court of Appeals for the Federal Circuit, have
demonstrated to petitioners that they will be unable to prove that petitioners are entitled to
compensation in the Vaccine Injury Compensation Program (“VICP”).” Pet’r’s Mot. at 1, ECF
No. 42.

    II.      Conclusion

         To receive compensation in the Vaccine Program, a petitioner must prove either (1) that he
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table – corresponding
to his vaccination, or (2) that he suffered an injury that was actually caused by a vaccine. See §§
13(a)(1)(A) and 11(c)(1). Moreover, under the Vaccine Act, a petitioner may not receive a Vaccine
Program award based solely on his claims alone. Rather, the petition must be supported by either
medical records or by the opinion of a competent medical expert. § 13(a)(1). In this case, however,
there is insufficient evidence in the record for Petitioners to meet their burden of proof. Petitioners’
claim therefore cannot succeed and, in accordance with their motion, must be dismissed. §
11(c)(1)(A).

          As such, IT IS ORDERED THAT,

        Petitioners’ motion for a decision dismissing their petition is GRANTED and the petition
is hereby DISMISSED. The Clerk shall enter judgment accordingly.

       Any questions regarding this Order may be directed to my law clerk, Sydney Lee, by
telephone at 202-357-6347, or by email at Sydney_Lee@cfc.uscourts.gov.

          IT IS SO ORDERED.
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                                       s/ Katherine E. Oler
                                       Katherine E. Oler
                                       Special Master




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